Case 1:08-cv-00270-WES-JH Document 7 Filed 12/28/10 Page 1 of 12 PageID #: 47



                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

CHARLESPONA

v.                                                                        C.A. No. 08-270 S

A.T. WALL

                           REPORT AND RECOMMENDATION

Jacob Hagopian, Senior United States Magistrate Judge.
       Petitioner, Charles Pona ("Pona" or "Petitioner"), pro se, an inmate in the custody of the
Rhode Island Department of Corrections, filed a petition for a writ of habeas corpus (the
"Petition") pursuant to 28 U.S.C. §2254 ("§ 2254") seeking release from custody (Docket # 1).
The Attorney General of the State of Rhode Island, designated a party-respondent (the "State"),
filed a motion to dismiss the petition on the merits (Docket # 4). Petitioner has not objected to
the State's motion. This matter has been referred to me for preliminary review, findings, and
recommended disposition pursuant to 28 U.S.c. § 636(b)(I)(B). For the reasons stated below, I
recommend that the State's motion be GRANTED and the Petition be DISMISSED.
                                       BACKGROUND
       Pona was convicted of murder, carrying a pistol without a license, and attempted arson of
a motor vehicle in Providence County Superior Court on July 20,2000. On September 14,2000,
he was sentenced to a cumulative sentence of life-imprisonment plus eight years.
       Pona appealed the conviction to the Rhode Island Supreme Court (the "RISC"), raising
four claims. First, relying on Batson v. Kentucky, 476 U.S. 79, 106 S.Ct. 1712 (1986), Pona
urged that the State's use of a peremptory challenge to remove the only black juror from the
panel violated his right to equal protection of the law under the Fourteenth Amendment. Second,
Pona argued that the trial justice had erred in admitting statements obtained in violation of the
Fifth Amendment and Miranda v. Arizona, 384 U.S. 436, 86 S.Ct. 1602 (1966). Pona also
argued that a search warrant used in connection with the murder investigation was invalid and
that the trial court erred in denying his motion for a new trial. On June 15, 2007, the RISC
denied Pona's appeal and affirmed the judgment of the trial court. State v. Pona, 926 A.2d 592
(R.!. 2007).
                                                         \
       Pona now challenges the decisions by the trial justice and the RISC affirming the same
regarding his claims under Batson and Miranda. The State contends the state courts' decisions
Case 1:08-cv-00270-WES-JH Document 7 Filed 12/28/10 Page 2 of 12 PageID #: 48



denying Pona's claims were neither contrary to, nor an unreasonable application of, clearly
established federal law and that the petition should be dismissed.
                                          DISCUSSION
I.     Standard of Review
       The scope of federal habeas review is limited by both principles of comity and the
directives of the Anti-terrorism and Effective Death Penalty Act, 28 U.S.C. § 2254 ("§ 2254") et
seq. ("AEDPA").
       A.      Procedural Default: Independent and Adequate State Law Basis
       Pursuant to the procedural default doctrine, with certain limited exceptions, "[a] federal
habeas court will not review a claim rejected by a state court 'if the decision of [the state] court
rests on a state law ground that is independent of the federal question and adequate to support the
judgment.'"    Beard v. Kindler, -- U.S.--, 130 S.Ct. 612, 614 (2009)(quoting Coleman v.
Thompson, 501 U.S. 722, 729,111 S.Ct. 2546 (1991». A rule is independent if the state court
judgment "clearly and expressly" rests on the petitioner's failure to comply with the state
procedural rule, Harris v. Reed, 489 U.S. 255, 266, 109 S.Ct. 1038 (1989), and adequate if it is
"finnly established and regularly followed," Beard, 130 S.Ct. at 617 (citations omitted). To
avoid the bar against federal habeas review of procedurally defaulted claims, a petitioner must
show "cause for the default and actual prejudice as a result of the alleged violation of federal
law, or demonstrate that a failure to consider the claims will result in a fundamental miscarriage
ofjustice." Coleman, 501 U.S. at 750; see also Murray v. Carrier, 477 U.S. 478,496, 106 S.Ct.
2639 (1986)( miscarriage-of-justice exception available when actual innocence is demonstrated).
       B.      AEDPA: Analysis of the Law and Determination of the Facts
       Additionally, with respect to any claim adjudicated on the merits in state court, the
AEDPA directs that the federal habeas court only grant relief if the state court decision was
"contrary to, or involved an unreasonable application of, clearly established Federal law," §
2254(d)(1), or was "based on an unreasonable determination of the facts in light of the evidence
presented," § 2254(d)(2). For a federal habeas court to find a state court decision "contrary to"
federal law, it must determine that the state court applied a legal principle different from the
governing law set forth in Supreme Court cases, or decided the case differently from a Supreme
Court case on materially indistinguishable facts. Williams v. Taylor, 529 U.S. 362,405-406, 120
S.Ct. 1495 (2000). Alternatively, to grant relief under the "unreasonable application" clause, the
federal habeas court must detennine the state court decision was not just incorrect, but also

                                                 2
Case 1:08-cv-00270-WES-JH Document 7 Filed 12/28/10 Page 3 of 12 PageID #: 49



objectively unreasonable. Schriro v. Landrigan, 550 U.S. 465, 473, 127 S.Ct. 1933 (2007). The
federal habeas court's focus "is not how well reasoned the state court decision is, but whether the
outcome is reasonable." Hurtado v. Tucker, 245 F.3d 7, 20 (1 5t Cir. 2001).
        A state court decision is also reversible if it is based on an unreasonable determination of
facts in light of the evidence presented. 28 U.S.C. §2254(d)(2). A state court's determination of
the facts should not be deemed unreasonable "merely because the federal habeas court would
have reached a different conclusion in the first instance." Wood v. Allen, -- U.S. --, 130 S.Ct.
841, 849 (2010).     Further, under § 2254(e)(1), "a determination of a factual issue made by a
State court shall be presumed to be correct" and the petitioner "shall have the burden of rebutting
the presumption of correctness by clear and convincing evidence." 28 U.S.C. § 2254(e)(I).
II.   Batson Claim
        As his first ground for relief, Pona points to the state court rulings allowing the
prosecutor to use a peremptory challenge to remove the sole black juror on the panel. Based on
Pona's direct challenge to the RISC, part of which he repeats in the Petition, it appears that he is
challenging (1) the manner in which the trial justice arrived at his determination that there was
no purposeful racial discrimination as contrary to clearly established federal law and (2) the
determination itself as an unreasonable application of the facts.
       A.      Batson Legal Standard
       In Batson, the Supreme Court held that a prosecutor's use of a peremptory challenge to
exclude an individual from jury service based on his or her race constitutes a violation of the
equal protection rights of both the potential juror and the defendant. Batson, 476 U.S. at 86. A
defendant's race-based Batson challenge to a prosecutor's peremptory strike involves three steps:
(i) the objecting defendant must make a prima facie showing of purposeful discrimination; (ii)
the prosecutor must then articulate a race-neutral explanation for the challenge; (iii) the
defendant must then prove that the explanation given is a pretext for discrimination. Rice v.
Collins, 546 U.S. 333, 338, 126 S.Ct. 969 (2006) (citations omitted). At the second step, the
prosecutor's explanation need not be persuasive, or even plausible, so long as the reason is
comprehensible and not inherently discriminatory. Id. (citing Purkett v. Elem, 514 U.S. 765,
767-768, 115 S.Ct. 1769 (1995) (per curiam».            The [mal step involves evaluating "the
persuasiveness of the justification" proffered by the prosecutor, with "the ultimate burden of
persuasion regarding racial motivation restring] with, and never shift[ing] from, the opponent of
the strike." Id. (quoting Purkett, 514 U.S. at 768).

                                                  3
Case 1:08-cv-00270-WES-JH Document 7 Filed 12/28/10 Page 4 of 12 PageID #: 50



       B.      Factual Background: The Peremptory Challenge in the State Courts
       During jury selection for his trial in state court, the State exercised a peremptory
challenge to remove the only black juror, Juror 168, from the venire, and Pona objected. Pona,
926 A.2d at 600. Recognizing a Batson problem, the trial justice instructed the parties on their
respective burdens, and turned to the prosecutor for his explanations. !d. The prosecutor offered
three purportedly race-neutral justifications for challenging Juror 168: (i) Juror 168, because she
had two brothers in law enforcement, might be inclined to overcompensate for the assumption
that she would side with the police by voting for acquittal; (ii) Juror 168 might be swayed to side
with defense counsel because one of her brothers had a relationship with defense counsel; and
(iii) Juror 168 displayed inattentiveness, lack of eye contact, and body language during voir dire
that indicated a lack of interest in the proceedings. !d. In his rebuttal, defense counsel argued
that: (1) as having family in law enforcement would generally make a juror more likely to side
with the prosecution, the State's first reason for removing Juror 168 was implausible and
suggested that the peremptory strike was motivated solely by race; (2) because defense counsel
knew Juror 168's brother only through cross examining him in other cases, such relationship
would not affect Juror 168's decisions and thus was not a valid reason for removing her as a
juror; and (3) the inattentiveness justification was a ruse because it "could apply to half the
people sitting in the [jury] box." Id. at 600-601. After hearing the arguments, the trial justice
allowed the State's challenge, stating simply, "Based on the representations and reasons given by
the State, I'm fully satisfied that there has been no purposeful racial discrimination, and the
explanations given by the prosecutor are, indeed, race neutral." Id. at 601.
       On direct appeal to the RISe, Pona urged that the trial justice committed clear error by
allowing the peremptory challenge. Specifically, the Pona urged that the trial justice erred by
failing to (i) include a comprehensive analysis on the record of his reasoning for finding the
State's race-neutral reasons valid; (ii) compare Juror 168 to white juror's who were not struck;
and (iii) determine that the State's proffered reasons for challenging Juror 168 were pretext for
discrimination. Id. However, following an in-depth analysis of Batson and its progeny, the
RISe rejected Pona's claim, determining that (1) the trial justice's findings were adequate; (2)
Pona had waived his claim to a comparative juror analysis; and (3) as the prosecutor's
description of Juror 168 as inattentive was unchallenged at trial and constituted a legitimate race-
neutral reason, such explanation was not a pretext for a racially motivated strike, and
consideration of the other two proffered reasons was unnecessary. Id. at 606-10.

                                                 4
Case 1:08-cv-00270-WES-JH Document 7 Filed 12/28/10 Page 5 of 12 PageID #: 51



       C.      Legal Analysis
               1. Challenge Regarding Clearly Established Federal Law under § 2254(d)(I)
       First, in ruling on Pona's challenge to the State's peremptory strike of Juror 168, both the
trial justice and the RISC properly identified the Batson tripartite test as providing the analytical
framework. See Thaler v. Haynes, -- U.S. --, 130 S.Ct. 1171 (2010); Snyder v. Louisiana, 552
U.S. 472, 128 S.Ct. 1203 (2008); Deleon v. Spencer, No. 07-11660, 2010 WL 3895174, at *11
(D.Mass. Sept. 30, 201O)(Batson appropriate law to apply).
       Second, to the extent Pona urges here that the trial justice's failure to detail his reasons on
the record for allowing the State's peremptory challenge of Juror 168, and the RISC's decision
affirming the same, were contrary to, or an unreasonable application of, Federal law, such claims
fail. The trial justice stated on the record that he was "fully satisfied that there has been no
purposeful racial discrimination ... ." Pona, 926 A.2d at 601 (emphasis added). In determining
that Pona had not met demonstrated that the peremptory challenge was racially motivated, the
trial justice satisfied the third Batson step. See Hernandez v. New York, 500 U.S. 352, 363, 111
S.Ct. 1859 (1991).    The trial justice's failure to expound upon his reasons for allowing the
State's peremptory challenge, and the RISC's decision affirming the same, were not contrary to,
or unreasonable applications of, clearly established Federal law. See Dolphy v. Mantel/o, 552
F.3d 236, 239 (2 nd Cir. 2009)("Trial courts applying the third Batson prong need not recite a
particular formula of words, or mantra"); Smul/s v. Roper, 535 F.3d 853, 860 (8 th Cir.
2008)("federallaw has never required explicit fact-findings following a Batson challenge").
               2.      Challenge Regarding Factual Determination under § 2254(d)(2)
       Pona also appears to challenge as unreasonable both the trial justice's factual
determination that the peremptory strike was not based on discriminatory motives and the
RISC's ruling affirming the trial justice's determination. However, as discussed below, it was
not unreasonable for the state courts to credit any of the prosecutor's race-neutral explanations,
and, therefore, this ground in the Petition should be denied. See Rice v. Collins, 546 U.S. 333,
338, 126 S.Ct. 969 (2006)("a federal habeas court can only grant [petitioner's] petition if it was
unreasonable to credit the prosecutor's race-neutral explanations for the Batson challenge").
                       a. Demeanor-Based Explanation
       As noted, the RISC credited the demeanor-based explanation as sufficient to indicate that
the peremptory strike was not racially motivated. It is clear that RISC correctly determined that
a demeanor-based explanation standing alone is a legally adequate race-neutral reason to justify

                                                 5
Case 1:08-cv-00270-WES-JH Document 7 Filed 12/28/10 Page 6 of 12 PageID #: 52



a peremptory challenge. See Thaler, 130 S.Ct. at 1175. Additionally, here, although it is not
clear if the trial court accepted the demeanor-based explanation, the RISC determined that the
prosecution's description of the challenged juror's demeanor as inattentive was "undisputed."
Pona, 926 A.2d at 609. Pona has not challenged such finding by the RISe. Therefore, it was not
unreasonable for the state courts to credit the prosecutor's demeanor-based explanation.
                       b. Brothers in Law Enforcement
       Additionally, Pona has not shown that it was unreasonable for the trial court to accept
either of the other explanations offered by the prosecutor for striking Juror 168. First, the
prosecutor's stated concern, that Juror 168 might overcompensate by voting to acquit Pona in an
effort to show that she was not biased, is not objectively unreasonable. Further, certain voir dire
responses of Juror 168 (such as (i) she might have "a little bit of fear being around" her brothers
if she were a juror in this case, Pretrial Tr., May 22, 26, June 7 & July 3, 5, 6, 2006 ("PT I"), at
95; and (ii) although she did not think it would, "she did not know" if her reasoning might be
affected by the thought of facing criticism from her brother on the Providence police force for
her decision in this case, PT I, at 98) suggest that it was not unreasonable to credit the
prosecutor's expressed concern about Juror 168 having brothers in law enforcement.
       Similarly, it was not unreasonable to accept as non-racially motivated the prosecutor's
explanation that he struck Juror 168, in part, because of defense counsel's professional contacts
with one of Juror 168's brothers. Pona urged on direct appeal that the explanation did not ring
true because the relationship between his lawyer and Juror 168's brother was adversarial and that
the mischaracterization of the relationship further evidenced the State's racial animus. Brief-In-
Chief of Appellant, at 28-30. However, as the State pointed out in its reply brief on direct
appeal, a relationship that is professionally adversarial may very well be socially respectful or
even friendly. Brief of Appellee, at 25 n.23. And, defense counsel had noted during jury
empanelment, "I know [you brother] very well," PT I, at 95, and that he and the brother would
"say hi to each other always," id. at 229.
                       c. Comparative Juror Data
       On direct appeal to the RISC, Pona argued that two of the prosecutor's purportedly race-
neutral reasons - that the juror had two brothers in law enforcement and she was inattentive -
were pretexts for racial discrimination because, in part, the reasons applied equally to white
jurors who were not excused from venire. Pona, 926 A.2d at 609. Pona relied on Miller-El v.
Dretke, a case decided after his trial but prior to his appeal, in which the Supreme Court stated,

                                                 6
Case 1:08-cv-00270-WES-JH Document 7 Filed 12/28/10 Page 7 of 12 PageID #: 53



"If a prosecutor's proffered reason for striking a black panelist applies just as well to an
otherwise-similar nonblack who is permitted to serve, that is evidence tending to prove
purposeful discrimination to be considered at Batson's third step." 545 U.S. 231, 241, 125 S.Ct.
2317 (2005). The RISC refused to consider Pona's argument. Citing Teague v. Lane, 489 U.S.
288, 301, 109 S.Ct. 1060 (1989), the RISC first explained that Miller-El was inapplicable to
Pona's appeal because it did not announce a novel rule. Pona, 926, A.2d at 606. The RISC then
determined that (i) Pona had waived his right to a side-by-side juror analysis regarding jurors
with relatives in law enforcement by not raising such argument before the trial justice under
Rhode Island's "well-settled raise-or-waive rule," id, and (ii) the "off-the-cuff' comment at voir
dire by Pona's lawyer that Juror 168's inattentiveness, lack of eye contact, and objectionable
body language "'could apply to half the people sitting in the box over there'" was not "a
sufficiently focused objection" to preserve for appeal an inquiry into the demeanor of other
jurors, id. at 608 n.15.
        To the extent Pona seeks to revive here his argument that a comparative juror analysis
reveals that the prosecutor's peremptory challenge of Juror 168 was racially motivated, such
argument fails. Not only has the Pona failed to specifically refer to a side-by-side analysis in the
.Petition, but Pona procedurally defaulted his right to such analysis by not alerting the trial justice
about such comparisons. Further, even if the comparisons suggested by Pona on direct appeal
are considered, such evidence does not indicate that the prosecutor's explanations for striking
Juror 168 were pretextual.
                             i.   Procedural Default
        Procedural default applies here. The state procedural grounds on which the RISC relied
in declining to consider the comparative juror data were both independent (the RISC clearly and
expressly relied on them), Pona, 926 A.2d at 609-10 & 608 n.15, and adequate (the
contemporaneous objection rule requirement is "well-settled" in Rhode Island jurisprudence),
Pona, 926 A.2d at 609 (citing State v. Brown, 915 A.2d 1279, 1282 (R.I. 2007»; see also State v.
Felicano, 901 A.2d 631, 646 (R.!. 2006); State v. Chakouian, 537 A.2d 409, 415 (R.!. 1988)
(defendant waived right to object to a juror as disqualified by waiting to raise the objection until
after the verdict); compare Reed v. Quarterman, 555 F.3d 364, 369-70 (5 th Cir. 2009)(in review
of habeas petition, held that the state appellate court's decision refusing to consider comparative
juror data not raised at trial was not adequate to create a procedural bar because the appellate



                                                  7
Case 1:08-cv-00270-WES-JH Document 7 Filed 12/28/10 Page 8 of 12 PageID #: 54



court had previously issued contradictory rulings allowing defendants to raise comparative juror
data for the first time on appeal).
        Further, the Supreme Court recently implied that the use of comparative juror data in the
Batson setting could be procedurally defaulted. See Snyder, 552 U.S. at 483 n.2. In considering
comparative juror data, the Supreme Court specifically noted, "[t]he Louisiana Supreme Court
did not hold that petitioner had procedurally defaulted reliance on a comparison of the African-
American jurors whom the prosecution struck with white jurors whom the prosecution accepted.
On the contrary, the State Supreme Court itself made such a comparison." Id. (emphasis added);
see also Hightower v. Terry, 459 F.3d 1067, 1071-72        (lIth   Cir. 2006)(petitioner who failed to
raise comparative juror analysis argument in state court was procedurally barred from raising
such claim in habeas petition); cf Us. v. Walley, 567 F.3d 354, 358 (8 th Cir. 2009)(on direct
appeal, stating, "we will not consider claims of pretext based upon the failure to strike similarly
situated jurors unless the point was raised in the district court" and "[0 Jur precedent ... applies
the sort of procedural bar that was absent in Snyder")(citations omitted); Deleon, 2010 WL
3895174, at *11 (denying consideration of comparative juror data in habeas action where issue
was not raised at trial because, pursuant to Batson and its progeny, defendant bears the burden of
presenting evidence to prove the prosecutor's strike was ,racially motivated).
       Additionally, Pona here has not demonstrated, or even suggested, an exception to the
procedural default in this instance. The Petition does not state, and the evidence on the record
does not indicate, (i) any cause for or prejudice from Pona's failure to sufficiently raise the juror
comparison issue at trial, or (ii) that Pona was actually innocent of the crime at issue here.
       Accordingly, as the RISC decision denying review of side-by-side juror data was based
on independent and adequate state grounds, and Pona has failed to show cause and prejudice or a
miscarriage of justice as a result of such decision, Pona's claims based on a comparative juror
analysis are procedurally defaulted. Therefore, any claims Pona is asserting that the state courts'
factual determination regarding the peremptory challenge was unreasonable because similarly
situated white jurors were not removed are not subject to federal habeas review.
                           ii. Not Unreasonable
       Further, even if the Court reviewed such comparative data, the trial court's factual
determination finding that the removal of Juror 168 was not racially motivated is not objectively
unreasonable. First, with respect to the claim by Pona's lawyer that the prosecutor's description
of Juror 168's demeanor in his reason for striking her applied to half of the people in the jury

                                                  8
Case 1:08-cv-00270-WES-JH Document 7 Filed 12/28/10 Page 9 of 12 PageID #: 55



box, there is no evidence in the record to support this statement. Second, although on appeal to
the RISC, Pona pointed to non-removed white jurors who had family members in law
enforcement, Brief-In-Chief of Appellant, at 24-28, further examination suggests that such jurors
were not sufficiently similarly situated to Juror 168 to render the comparison meaningful. Cf
Snyder, 552 U.S. at 483 (recognizing that "an appellate court must be mindful that an exploration
of the alleged similarities at the time of trial might have shown that the jurors in question were
not really comparable"). Only two of the white jurors had family members who were active
policemen (one juror had a cousin, PT I, at 187-93, and another juror had a son, id. at 254-58),
and none of the compared-to white jurors had family members on the police force involved in the
investigation of the case. Plus, Pona did not point to, and the record from the voir dire testimony
before the Court does not indicate, any hesitation on the part of any of the compared-to white
jurors in answering questions about service as a juror, or to a demeanor that suggested
inattentiveness, as have been revealed regarding Juror 168.
                       d. Overall Record - Not Unreasonable
       Finally, here, unlike in Miller-EI, relied on by Pona in his direct appeal, there are no other
indicia of racial discrimination. See Pona, 926 A.2d at 609; compare Miller-EI, 545 U.S. at 240-
41 & 253-66 (noting complaints regarding juror shuffling, differential questioning of white and
black jurors, use of peremptory strikes against multiple minority jurors, and state instructions
directing prosecutors to strike minority jurors); Snyder, 552 U.S. at 476 (prosecutor eliminated
all five prospective minority jurors with peremptory strikes). Accordingly, the overall record
here supports the conclusion that the state courts' rejection of Pona's Batson objection was not
an unreasonable determination of fact.
III.   Miranda Claim
       A.      Factual Background
       On October 28, 1999, Pona made statements (the "October 28 th Statements") to Detective
Marsland of the Providence Police Department ("PPD"). Pona, 926 A.2d at 610. Prior to his
trial, Pona moved to suppress these statements as violating his Miranda rights. Id. The trial
justice held a pre-trial hearing at which he determined that the State "satisfied its burden of
demonstrating by clear and convincing evidence that [Pona] was fully admonished of his rights,
and that he voluntarily, without coercion of any kind, decided to speak with the officers and that
his decision to do so was a product of his free and intelligent choice." Pretrial Tr., June 28, 29 &
July 3, 2000 ("PT II"), at 112. In his case-in-chief at trial, Pona offered testimony inconsistent

                                                 9
Case 1:08-cv-00270-WES-JH Document 7 Filed 12/28/10 Page 10 of 12 PageID #: 56



 with the October 28 th Statements. Pona, 926 A.2d at 611. The prosecution then called Detective
 Marsland as a rebuttal witness to testify regarding the content of the October 28th Statements. Id.
         On appeal to the RISC, Pona argued that the PPD officers did not obtain a signed waiver
 form from Pona before he made the October 28 th Statements, and, therefore, the State had failed
 to prove by clear and convincing evidence that Pona had knowingly and voluntarily waived his
 Miranda rights. Pona urged that the entry of his statements into evidence despite the State's
 failure to obtain his signed waiver or other proof of his voluntary waiver of his Miranda rights
 violated his rights under the United States and Rhode Island Constitutions. ld.          The RISC
 rejected Pona's claim without determining whether or not the October 28 th Statements violated
 "the prophylactic requirements of Miranda." Id. Instead, citing Harris v. New York, 401 U.S.
 222, 91 S.Ct. 643 (1971), the RISC determined that, even if the custodial statements were
 inadmissible in prosecution's case-in-chief, the statements were admissible during rebuttal at
 Pona's trial, and therefore the trial justice did not commit error. Id.
         B.      Legal Analysis
         Pona urges, as a ground for granting his Petition, that he "did not knowingly,
 intentionally and voluntarily waive his rights under Miranda." Petition, at 12. Presumably Pona
 urges that the trial court's finding that the statements were made knowingly, intentionally, and
 voluntarily constituted an unreasonable determination of the facts in light of the evidence while
 the State courts' decisions permitting the use of the statements at trial were contrary to, or
 involved an unreasonable application of, clearly established Federal law. However, Pona fails to
 establish either theory in this case.
                 1.      Statements Used For Impeachment
         Here, the RISC's decision finding no error in the trial court's ruling allowing the
 admission of the October 28 th Statements on rebuttal to impeach Pona was neither contrary to nor
 an unreasonable application of the Supreme Court's relevant holdings in Harris and Oregon v.
 Hass, 420 U.S. 714,95 S.Ct. 1215 (1975). In Harris, the Supreme Court held, as the RISC noted,
 that statements inadmissible against a defendant in the prosecution's case in chief because of a
 lack of the procedural safeguards required by Miranda may be used to impeach the defendant on
 cross examination so long as the trustworthiness of the statements satisfy legal standards (i. e. ,
 were neither involuntary nor coerced), 401 U.S. at 224-26. In Hass, the Supreme Court extended
 this principle to allow the introduction of such statements during rebuttal testimony, 420 U.S. at
 723 (police officer called as rebuttal witness to testify to inconsistent statements).

                                                   10
Case 1:08-cv-00270-WES-JH Document 7 Filed 12/28/10 Page 11 of 12 PageID #: 57



        Further, with respect to the factual determination involved here, although the RISC did
 not specifically state that the October 28 th Statements were not involuntary or coerced, such a
 determination is implicit in the RISC ruling explicitly noting that a statement must satisfy legal
 trustworthiness standards to be admitted for impeachment purposes. Pona, 926 A.2d at 611.
 And, the decision is not unreasonable here, where there is no evidence in the record indicating
 that the statements were either involuntary or coerced or suggesting that the statements were not
 "'the product of a rational intellect and a free will.'" Mincey v. Arizona, 437 U.S. 385, 398, 98
 S.Ct. 2408 (1978)(emphasis omitted). Indeed, Pona admitted that the October 28 th Statements
 were in no way physically coerced, PT II, at 102, and urges in his Petition only that he "did not
 knowingly, intentionally and voluntarily waive his rights under Miranda," not that the statements
 were made involuntarily or under coercion.
                2. Waiver of Miranda Rights
        Additionally, the trial justice's determination that the State met its burden of showing that
 Pona provided the October 28 th Statements after voluntarily, knowingly, and intelligently
 waiving his Miranda rights also did not involve an unreasonable application of Federal law or
 determination of fact. First, to the extent Pona challenges the trial justice's finding that the PPD
 demonstrated that Pona voluntarily, knowingly and intelligently waived his Miranda rights as an
 unreasonable application of Federal law because the PPD failed to obtain a signed waiver form,
 such argument fails. Federal law does not require a signed waiver form to support a finding that
 a defendant voluntarily waived his or her Miranda rights. See Us. v. Guzman, 603 F.3d 99, 106
 (l st Cir. 201 O)("Oral waivers of Miranda rights are sufficient"). Second, Pona has made no
 showing rebutting the presumption that the trial justice's determination that Pona voluntarily,
 knowingly, and intelligently waived his Miranda rights was correct. And, even if the record
 were to be reviewed de novo, the record from the suppression hearing supports the trial justice's
 conclusion. PT II, at 54-58, 60, 84-85, 87-88.
                                          CONCLUSION
        As set forth above, the state courts' decisions on the Batson and Miranda issues in Pona's
 trial and appeal were neither contrary to or an unreasonable application of clearly established
 Federal law nor based on an unreasonable determination of the facts in light of the evidence
 presented. Accordingly, I recommend that the State's motion to dismiss be GRANTED and the
 Petition be DISMISSED.



                                                  11
Case 1:08-cv-00270-WES-JH Document 7 Filed 12/28/10 Page 12 of 12 PageID #: 58



        Any objection to this Report and Recommendation must be specific and must be filed
 with the Clerk of Court within fourteen days of its receipt. Fed R. Civ. P. 72(b); LR Cv 72(d).
 Failure to filed timely, specific objections to this report constitutes waiver of both the right to
 review by the district court and the right to appeal the district court's decision. United States v.
 Valencia-Copete, 792 F.2d 4,6 (1 st Cir. 1986) (per curiam).




 Jacob Hagopian
 Senior United States Magistrate Judge
 December 28, 2010




                                                  12
